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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF NEW JERSEY

                                                                            )
    In re:                                                                  )    Chapter 11
                                                                            )
    DAVID’S BRIDAL, LLC, et al.,1                                           )    Case No. 23-13131 (CMG)
                                                                            )
                                                Debtors.                    )    (Joint Administration Requested)
                                                                            )

                          DECLARATION OF JAMES MARCUM,
                CHIEF EXECUTIVE OFFICER OF THE DEBTORS, IN SUPPORT
              OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, James Marcum, declare under penalty of perjury:

                                                    Introduction

             1.     David’s Bridal, LLC (“David’s Bridal”), a limited liability company and one of the

above-captioned debtors and debtors in possession (collectively, the “Debtors” and together with

their non-Debtor affiliates, the “Company”), is the largest bridal and special occasion retailer in

North America, offering a broad assortment of gowns, wedding-related apparel, social occasion

apparel, and related accessories and services. For over 70 years, the Company has been an iconic

bridal destination, dressing more than 70 million women for the best and most memorable

moments of their lives. Approximately 25% of brides in the United States wear a David’s Bridal

gown at their wedding and approximately 87% of brides visit the Company’s website at least once

during their wedding planning process. In addition to bridal gowns, David’s Bridal offers a wide

assortment of occasion dresses and bridesmaid dresses, dressing approximately 1,000,000

bridesmaids annually.


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors,
      Inc. (3857); David’s Bridal Canada, Inc. (N/A); Blueprint Registry, LLC (2335). The location of Debtor David’s
      Bridal, LLC’s service address in these chapter 11 cases is 1001 Washington Street, Conshohocken, Pennsylvania
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       2.         Headquartered in Conshohocken, Pennsylvania, the Debtors primarily derive their

revenue from merchandise sold at 294 stores across the United States, Canada, and the United

Kingdom, franchise stores located in Mexico, and through the Company’s e-commerce site

(www.DavidsBridal.com), which receives more than 70 million website visits annually.

The Debtors also generate incremental revenue from their alteration services, strategic retail

partnerships, and most recently, through the launch of their application, Pearl, providing a wide

range of wedding planning tools and services to brides. In light of the Company’s extensive

assortment of wedding related apparel and accessories offered in-store and online, David’s Bridal

is the only significant omni-channel bridal retailer in the United States. The Company further

benefits from its strong brand recognition and the quality and value of its products across various

price points.

       3.         On November 19, 2018, the Debtors commenced chapter 11 cases in the United

States Bankruptcy Court for the District of Delaware (the “Prior Chapter 11 Cases”) to implement

a restructuring pursuant to a prepackaged chapter 11 plan. Approximately two months later, on

January 18, 2019, the Debtors successfully emerged from the Prior Chapter 11 Cases, deleveraging

their balance sheet by approximately $434 million. Since June 2019, the Company has been led

by an experienced new senior management team that has been working tirelessly to stabilize and

improve the Company’s operational and financial performance and to ensure that David’s Bridal

remains relevant to the modern bride. Under the new management team’s guidance, the Company

improved the customer experience with modern branding, the launch of new product lines,

advancement in the Company’s technology offerings, and by centering its business around service

to brides.      Notwithstanding these efforts, the Company is suffering under severe liquidity




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constraints brought on by a confluence of adverse macroeconomic trends and industry specific

headwinds, including the lasting impact of COVID-19 on the wedding industry.

        4.       Over the past several months, the Debtors and their advisors have worked to prepare

for and develop various strategic alternatives, including undertaking a robust marketing process

led by the Debtors’ investment banker, Houlihan Lokey Capital, Inc. (“Houlihan”). In February

2023, Houlihan began reaching out to potential bidders and the marketing process yielded several

parties that have expressed potential interest in certain of the Debtors’ assets. In light of the

Company’s liquidity constraints, the Debtors were unable to continue their marketing process out

of court, but the Debtors continue to believe that there is value in their brands and potential

purchasers remain interested in exploring transactions on a postpetition basis.

        5.       In connection with the Company’s consideration of strategic alternatives, the

Company has identified various operational efficiency initiatives to support a new, scaled down

enterprise, including a reduction in its store fleet, corporate and store workforce, and corporate

expenses. The Debtors commenced these chapter 11 cases to, among other things, obtain the

immediate access to liquidity necessary to implement these cost saving initiatives and continue the

marketing process for a potential sale transaction. Simultaneously with the filing of these chapter

11 cases, the Debtors filed a motion proposing an efficient, public, and flexible auction process to

continue their sale efforts. While the Debtors will continue to conduct a sale process at the outset

of these chapter 11 cases, if the Debtors are unable to implement a going-concern transaction, the

Debtors will turn to an orderly liquidation of their remaining assets, including the sale of distinct

assets separate from the Debtors’ operations. 2


2
    Prior to filing the chapter 11 petitions, the Debtors issued notices pursuant to the Worker Adjustment and
    Retraining Notification Act (the “WARN Act”) to all Employees and certain governmental entities (collectively,
    the “WARN Act Notices”). The WARN Act Notices were conditional, providing that the Company is in the
    process of evaluating its strategic options, including a sale as a going concern, a sale of certain assets and


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        6.       The Debtors and Gordon Brothers Retail Partners, LLC (“Gordon Brothers”) have

proposed procedures related to a potential wind-down of the Debtors’ business operations and

liquidation of inventory in all retail stores that are substantially similar to procedures used by other

retailers in similar circumstances. To the extent necessary, the Debtors believe that the proposed

timeline and procedures would result in an expedited and efficient wind-down process. The

Debtors will manage their inventory in the coming weeks to further the opportunity to secure a

value-maximizing going-concern transaction and, to the extent one materializes, will quickly pivot

to cease store closings at any stores needed to implement the transaction. The Debtors believe that

this dual-path process will best maximize value for all stakeholders.

                                                     Background

        7.       I have been the Chief Executive Officer of David’s Bridal since June 24, 2019. I

am also the Chief Executive Officer of each of the other Debtors. I am familiar with the Debtors’

day-to-day operations, business affairs, and books and records.

        8.       I submit this declaration (the “Declaration”) to assist this court (the “Court”) and

parties in interest in understanding the Debtors, their operations, their capital structure, the

circumstances related to the commencement of the chapter 11 cases, and in support of (a) the

Debtors’ petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”) filed on the date hereof (the “Petition Date”) and (b) the relief requested by the Debtors

pursuant to the pleadings described herein (the “First Day Motions”).

        9.       I believe that the relief sought in each of the First Day Motions is necessary to

facilitate an effective transition into chapter 11. Indeed, I believe that the Debtors’ estates would



    intellectual property, or a potential wind-down of some or all of the business, and as a result, the Company’s
    Employees may experience an employment loss under the WARN Act.



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suffer immediate and irreparable harm absent the immediate ability to obtain financing, use cash

collateral, and make certain essential payments and otherwise continue the Debtors’ business

operations as sought in the First Day Motions. In my opinion, approval of the relief requested in

the First Day Motions will minimize disruptions to the Debtors’ business operations and customers

and is critical to preserving and maximizing the value of the Debtors’ estates and assisting the

Debtors in achieving a speedy and successful sale of the Debtors’ assets.

       10.     Except as otherwise indicated, all facts set forth in this Declaration are based upon

my personal knowledge, my discussions with other members of the Debtors’ management team

and the Debtors’ advisors, my review of relevant documents and information concerning the

Debtors’ operations, financial affairs, and restructuring initiatives, or my opinions based upon my

experience and knowledge. If called as a witness, I could and would testify competently to the

facts set forth in this Declaration on that basis. I am authorized to submit this Declaration on

behalf of the Debtors.

       11.     To familiarize the Court with the Debtors, their business, the circumstances leading

to these chapter 11 cases, and the relief the Debtors are seeking in the First Day Motions, I have

organized this Declaration as follows:

              Part I provides a general overview of the Debtors’ corporate history and
               operations;

              Part II describes the Debtors’ prepetition capital structure;

              Part III provides an overview of the circumstances leading to these chapter 11
               cases;

              Part IV describes the Debtors’ prepetition restructuring efforts; and

              Part V summarizes the Debtors’ First Day Motions.




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I.   Corporate History and Operations.

     A. Overview of the Company and the History of David’s Bridal.

        12.    David’s Bridal is the successor to a bridal retailing business that began as a single

bridal salon in Ft. Lauderdale, Florida in 1950. In 1972, entrepreneur Phil Youtie purchased the

business and expanded operations, opening several bridal salons throughout Florida.

By 1988, Phil Youtie owned 18 bridal salons that were primarily operated as boutiques located in

large department stores. In 1990, David’s Bridal was incorporated and commenced operations by

opening a warehouse store in Hallandale, Florida.

        13.    In 1999, David’s Bridal conducted an initial public offering and was listed on the

New York Stock Exchange. Approximately one year later, the May Department Stores Company

(“May”) acquired David’s Bridal and, in 2007, Federated Department Stores, Inc. (the successor

of May) sold David’s Bridal to affiliates of Leonard Green & Partners, L.P. (“Leonard Green”)

and other investors. In 2012, David’s Bridal was acquired by affiliates of Clayton, Dubilier &

Rice, LLC (“CD&R”), with Leonard Green maintaining a minority equity interest.

        14.    In 2018, the Company began exploring various strategic alternatives in response to

substantial debt obligations and liquidity constraints. On November 19, 2018, after months of

extensive negotiations and preparation, the Company filed the Prior Chapter 11 Cases. On January

18, 2019, pursuant to the Company’s prepackaged plan of reorganization in the Prior Chapter 11

Cases, the ownership interests held by CD&R and Leonard Green were cancelled and the

Company’s debt was equitized.




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   B. The Company’s Business Operations.

       15.       The Company is an international bridal retailer that strives to inspire its customers,

with the goal of delivering highly engaged bridal experiences that deliver memories to cherish for

a lifetime. The Company maintains a diverse

product      portfolio,   offering   dresses    and

accessories for any special occasion.          The

Company offers a wide range of bridal gowns

ranging in price from $199 to over $2,000. The

Company’s strong brand recognition has enabled

the Company to expand beyond bridal wear into

adjacent special occasion categories such as proms, formals, and quinceañeras.

       16.       As of the Petition Date, the Debtors employ approximately 10,000 employees

(collectively, the “Employees”), of which approximately 2,000 are full-time Employees and

approximately 8,000 are part-time Employees. None of the Employees are party to a collective

bargaining agreement or similar labor agreement. The Company’s corporate headquarters is

located in Conshohocken, Pennsylvania and the Debtors maintain two distribution centers, one

located in Conshohocken and the other in Bristol, Pennsylvania.

       17.       As the largest bridal and special occasion retailer in North America, the Company

currently operates 294 stores, including 278 stores in 49 states in the United States, 12 stores in

Canada, and four stores in the United Kingdom. Additionally, the Debtors provide support to eight

franchised stores in Mexico. The Company leases all of its retail stores, except for one store

located in New Jersey.




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         18.    Below is a map of the Debtors’ store locations in the United States as of the Petition

Date:




         19.    David’s Bridal is the

owner of various trademarks and service

marks, including the marks DAVID’S

BRIDAL,        DB   STUDIO,      GALINA,

GALINA         SIGNATURE,        MELISSA

SWEET, OLEG CASSINI, JULES &

CLEO, and FIFTEEN ROSES.

         20.    The    Debtors     product

design    and    development     team    is

responsible for creating and bringing new products to market. The Company’s team consists of

designers in the United States and in China. This group works closely with the merchandising,

planning, allocation, and supply chain teams to ensure that in-demand products reach the Debtors’

store and e-commerce channels in a timely manner.

         21.    The Debtors rely on their relationships with several key merchandise suppliers,

most notably, their four joint ventures incorporated under the laws of, and operating out of, Hong




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Kong, China (the “Foreign Affiliates”), to maintain the flow of merchandise critical to their

business and to facilitate the Debtors’ ability to respond quickly and effectively to changes in

customer demands. In particular, the Debtors source approximately 87% of their merchandise

through their Foreign Affiliates, including Fillberg Limited (“Fillberg”), which is the exclusive

buying agent for the Debtors outside of North America. More specifically, the Foreign Affiliates

provide the design, sourcing, and production of 100% of bridal, bridesmaids, and quinceañera

dresses sold by David’s Bridal, 80% of social occasion dresses, and 50% of accessories under the

Debtors’ proprietary brands. The designs sold in David’s Bridal stores combine the Company’s

merchandise and designs with the extensive design and technical operations provided for by the

Foreign Affiliates. Through the Foreign Affiliates, the Debtors deal with approximately 30 foreign

suppliers and vendors consisting of fabric mills and production factories in China, Myanmar,

Vietnam, Sri Lanka, and other locations.

          22.   The scale and efficiency of the Debtors’ vertically integrated, asset-light supply

chain provides it with the capabilities to design and produce high quality bridal fashions at a low

cost, the benefits of which are then passed on to the consumer as part of David’s Bridal’s overall

value proposition. The Debtors’ supply chain provides the ability to distribute these fashions

globally in a timely and efficient manner to customers whose events demand a high level of

precision. The majority of the Foreign Affiliates’ manufacturing capacity is dedicated to David’s

Bridal.

          23.   The Debtors’ marketing is focused on creating and elevating positive emotional

connections between brides and the David’s Bridal brand, communicating the functional elements

that highlight the Debtors’ differentiated value proposition within its brand, ranging from opening

price point to proprietary designer assortments. The Debtors utilize a strategic mix of digital




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television and radio advertising, paid digital internet advertising, social media and influencer

campaigns, e-mail, direct mail, special events, and numerous local and regional bridal shows to

communicate the Company’s brand value and drive consumer traffic.                Through its digital

platforms, David’s Bridal receives more than 425 million page views annually on its proprietary

website and the Company directly communicates with its approximately 15 million e-mail

subscribers and over 1.2 million SMS subscribers. Through its social media digital channels, the

Company has approximately 2.6 million active followers. The Company’s website is designed to

provide inspiration and guidance during the wedding planning process, while also offering robust

functionality for brides to book an appointment or transact through the Company’s e-commerce

capability. Given the unique nature of the wedding dress selection process, 90% of all brides who

purchase a David’s Bridal wedding dress book an appointment through the Company’s website

for an in-store visit. The breadth of the Company’s digital assets, along with its long-established

history of serving brides, has allowed David’s Bridal to build unparalleled brand recognition in

the bridal industry in North America.

       24.     The Debtors’ brand equity and strong customer relationships enable them to offer

bridal customers a unique omni-channel experience and a suite of wedding planning tools and

service offerings.    The Debtors offer these services via three principal revenue models:

(a) full-service through David’s Bridal, with options like alterations services; (b) referrals to other

industry merchants, including, among others, the Black Tux, Shutterfly, and Little Tuxedo,

producing a steady stream of revenue through fee-sharing arrangements based on David’s Bridal

originated leads; and (c) advertising on www.DavidsBridal.com, the most highly trafficked bridal

website, and through its bridal registry and vendor listing marketplace.




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       25.     While the Debtors continue to utilize their traditional marketing methods, the

Debtors are constantly brainstorming new ways to increase their revenue. In December 2020, the

Company launched its Diamond Loyalty Program which allows brides to earn one diamond point

for every dollar spent, receive diamond points from their friends and family, and use those points

towards various rewards, ranging from free tote bags to free honeymoons. As of the Petition Date,

the Diamond Loyalty Program has more than 2.1 million active members, 87% of which have

made purchases since the program’s launch. In 2022 alone, approximately $405 million of

merchandise demand sales and approximately $63 million of alterations demand sales were

attributable to Diamond Loyalty Program customers. In March 2022, Retail Info Systems News

recognized the Diamond Loyalty Program as one of the top loyalty programs in the United States,

trailing only Nike, Ulta, and Starbucks.

       26.     In addition, most recently, in January 2023, the Company launched an event

planning application, Pearl, to further infiltrate the wedding and broader

event network. Pearl includes a robust vendor marketplace, for which

the Debtors charge listing fees, and a variety of planning tools to engage

brides, including, among others, a wedding checklist, a vision board, and

a gift registry. The Debtors’ extensive reach and engagement with brides

has driven over 15,000 vendors, in the short period since its launch, to

join the Pearl platform, with now more than 600,000 vendor listings and

the capability to provide brides with value throughout their entire wedding planning process.

II.   The Debtors’ Prepetition Capital Structure.

       27.     A chart setting forth the Company’s current organizational structure, including a

depiction of the Debtors and their non-Debtor affiliates, is attached as Exhibit A hereto. The

following table depicts the Debtors’ prepetition capital structure as of the Petition Date:


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                                                                           Outstanding Principal Amount
                   Funded Debt                          Stated Maturity
                                                                               as of the Petition Date
 Prepetition ABL Facility (Revolving Loans)                 May 2024               $35,500,000
 Prepetition ABL Facility (FILO Term Loans)                 May 2024               $10,100,000
 Prepetition Senior Superpriority Term Loan Facility        May 2024               $91,700,000
 Prepetition Superpriority Term Loan Facility           December 2024              $29,300,000
                                                          June 2023
 Prepetition First Lien Term Loan Facility                    or                   $74,900,000
                                                        December 2024
                                                         January 2024
 Prepetition Takeback Term Loan Facility                      or                   $12,400,000
                                                        December 2024
                                                       Total Funded Debt           $256,900,000



        28.      As set forth above, the Debtors’ capital structure is comprised of four term loan

facilities and one asset-backed revolving facility that also includes a “first-in-last-out” term loan.

The agents for each of the five facilities are party to the Third Amended and Restated Intercreditor

Agreement, dated as of April 30, 2021 (as amended, restated, supplemented, or otherwise modified

from time to time, the “Prepetition Intercreditor Agreement”). Among other things, the Prepetition

Intercreditor Agreement establishes the lien priority of each facility with respect to the lenders’

collateral, including the collateral comprised of the Debtors’ fixed assets (the “Term Loan Priority

Collateral”) and current assets (the “ABL Priority Collateral”). The below table depicts the

respective lien priorities under each of the Debtors’ credit facilities.




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    PREPETITION LIEN PRIORITY
                   Facility                               ABL Priority Collateral3       Term Loan Priority
                                                                                            Collateral4
    Prepetition ABL Facility                                    1st priority                 5th priority
    Prepetition Senior Superpriority Term Loan Facility         2nd priority                 1st priority
    Prepetition Superpriority Term Loan Facility                3rd priority                2nd priority
    Prepetition First Lien Term Loan Facility                   4th priority                 3rd priority
    Prepetition Takeback Term Loan Facility                     5th priority                 4th priority


     A. Prepetition ABL Facility.

          29.     David’s Bridal, LLC, DBI Midco, Inc., Blueprint Registry, LLC, and David’s

Bridal Canada Inc. (collectively, the “Prepetition Loan Parties”), the several lenders party thereto,

and Bank of America, N.A., as agent, are each party to the Amended and Restated ABL Credit

Agreement, dated as of November 26, 2019 (as amended, restated, supplemented, or otherwise

modified from time to time, the “Prepetition ABL Credit Agreement” and the facility thereunder,

the “Prepetition ABL Facility”). The Prepetition ABL Facility is comprised of a $125 million

revolving loan commitment (any drawn and outstanding amounts thereunder, the “Prepetition

ABL Loans”) and a $10 million “first-in-last-out” term loan (the “Prepetition FILO Term Loan”).

The Prepetition FILO Term Loan is contractually subordinated to the Prepetition ABL Loans under

the Prepetition ABL Credit Agreement. The Prepetition ABL Facility is guaranteed by each of the

Debtors and is secured by liens on substantially all of the Debtors’ assets (“Collateral”), including

a first-priority lien on certain receivables, accounts, and inventory (the “ABL Priority Collateral”)

and a fifth-priority lien on substantially all other assets, including equipment, fixtures, real

property, and intellectual property (the “Term Loan Priority Collateral”). The ABL Facility

matures in May 2024 and, as of the Petition Date, approximately $38.5 million was outstanding in


3
     “ABL Priority Collateral” includes, among other things, the Debtors’ accounts, payment intangibles, cash and
     equivalents, inventory, and proceeds of the foregoing.

4
     “Term Loan Priority Collateral” includes, among other things, the Debtors’ equipment, fixtures, real property,
     intellectual property, all assets other than ABL Priority Collateral, and proceeds of the foregoing.



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Prepetition ABL Loans, approximately $10.1 million was outstanding under the Prepetition FILO

Term Loan, and approximately $16.9 million in letters of credit had been issued under the

Prepetition ABL Facility.

   B. The Prepetition Senior Superpriority Term Loan Facility.

       30.     The Prepetition Loan Parties, the several lenders party thereto, and Alter Domus

(US) LLC (“Alter Domus”) as agent, are each party to the Senior Superpriority Term Loan Credit

Agreement, dated as of April 30, 2021 (as amended, restated, supplemented, or otherwise modified

from time to time, the “Prepetition Senior Superpriority Credit Agreement” and the facility

thereunder, the “Prepetition SS Term Loan Facility”). The Prepetition SS Term Loan Facility is

guaranteed by each of the Debtors and is secured by liens on substantially all of the Debtors’ assets.

As summarized above, the liens securing the Prepetition SS Term Loan Facility are first in priority

with respect to the Term Loan Priority Collateral and second in priority with respect to the ABL

Priority Collateral. As of the Petition Date, approximately $91.7 million in aggregate principal

amount remained outstanding under the Prepetition SS Term Loan Facility.

   C. The Prepetition Superpriority Term Loan Facility.

       31.     The Prepetition Loan Parties, the several lenders party thereto, and

Cantor Fitzgerald Securities (“Cantor Fitzgerald”), as agent, are each party to the Superpriority

Term Loan Credit Agreement, dated as of June 19, 2020 (as amended, restated, supplemented, or

otherwise modified from time to time, the “Prepetition Superpriority Credit Agreement” and the

facility thereunder, the “Prepetition Superpriority Term Loan Facility”).           The Prepetition

Superpriority Term Loan Facility is guaranteed by each of the Debtors and is secured by liens on

substantially all of the Debtors’ assets. As summarized above, the liens securing the Prepetition

Superpriority Term Loan Facility are second in priority with respect to the Term Loan Priority

Collateral and third in priority with respect to the ABL Priority Collateral. As of the Petition Date,


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approximately $29.3 million in aggregate principal amount remained outstanding under the

Prepetition Superpriority Term Loan Facility.

   D. The Prepetition First Lien Term Loan Facility.

       32.     The Prepetition Loan Parties, the several lenders party thereto, and Cantor

Fitzgerald, as agent, are each party to the First Lien Term Loan Credit Agreement, dated as of

November 26, 2019 (as amended, restated, supplemented, or otherwise modified from time to time,

the “Prepetition First Lien Credit Agreement” and the facility thereunder, the “Prepetition First

Lien Term Loan Facility”). The Prepetition First Lien Term Loan Facility is guaranteed by each

of the Debtors and is secured by liens on substantially all of the Debtors’ assets. As summarized

above, the liens securing the Prepetition First Lien Term Loan Facility are third in priority with

respect to the Term Loan Priority Collateral and fourth in priority with respect to the ABL Priority

Collateral. As of the Petition Date, approximately $74.9 million in aggregate principal amount

remained outstanding under the Prepetition First Lien Term Loan Facility.

   E. The Prepetition Takeback Term Loan Facility.

       33.     The Prepetition Loan Parties, the several lenders party thereto, and Cantor

Fitzgerald, as agent, are each party to the Term Loan Credit Agreement, dated as of

January 18, 2019 (as amended, restated, supplemented, or otherwise modified from time to time,

the “Prepetition Takeback Credit Agreement” and the facility thereunder, the “Prepetition

Takeback Term Loan Facility”). The Prepetition Takeback Term Loan Facility is guaranteed by

each of the Debtors and is secured by liens on substantially all of the Debtors’ assets. As

summarized above, the liens securing the Prepetition Takeback Term Loan Facility are fourth in

priority with respect to the Term Loan Priority Collateral and fifth in priority with respect to the




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ABL Priority Collateral. As of the Petition Date, approximately $12.4 million in aggregate

principal amount remained outstanding under the Prepetition Takeback Term Loan Facility.

 III.      Events Leading to these Chapter 11 Cases.

           34.    A confluence of factors contributed to the Debtors’ need to commence these chapter

11 cases. First, internal factors, including the liquidity needs of the Company to support its

significant operating expenses, and disruptions to management initiatives, have impaired the

Debtors’ liquidity. Second, the impact of the COVID-19 pandemic, as well as the significant shift

in the competitive landscape due to the disruption in the retail industry, has led to a decrease in

sales. Finally, shifts in consumer behaviors have contributed to the elongation of wedding

planning cycles and an overall casualization in wedding events, thereby affecting the demand for

more traditional wedding gowns and formal attire, all of which have further reduced the Debtors’

revenue.

        A. Internal Factors.

           35.    While the restructuring achieved in the Prior Chapter 11 Cases deleveraged the

Debtors’ balance sheet by approximately $434 million, the Company maintained a large store

footprint and substantial operating expenses following its emergence from chapter 11.

Given David Bridal’s sizable store portfolio—with 294 stores across the United States, Canada,

and the United Kingdom—inflationary pressures, which have led to higher inventory and operating

costs, have significantly impacted the Company’s revenue.

           36.    Further, David’s Bridal is primarily a seasonal business, and the Prior Chapter 11

Cases were pending at the height of the “Bridal Christmas” season, which is the period between

January and May of each year. Bridal Christmas generates a significant amount of the Company’s

yearly EBITDA as a substantial number of brides, bridesmaids, and other formalwear customers

make their purchases during this period in anticipation of upcoming summer and fall events.


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During Bridal Christmas, the Company generally collects the proceeds for a wedding dress in the

form of a customer deposit and the Company fulfills the order from its inventory on hand in its

distribution center, another store location, dresses in transit through the Company’s normal supply

chain, or through new production from Fillberg, the Company’s vertical supply chain partner.

       37.     Unfortunately, the timing of the Prior Chapter 11 Cases during the 2019 Bridal

Christmas season impacted the customer’s perception of the Company’s brand and resulted in a

decline in confidence in the Company during what should have been a peak sale period. As a

result of the foregoing, the Company experienced a significant decline in traffic, appointments,

and unit sales in the Company’s stores. The marked shift in customer’s perception of the business

shortly following the Prior Chapter 11 Cases significantly eroded David’s Bridal’s liquidity

forecast following emergence.     In response to the foregoing, the Company’s then-existing

management team engaged in excessive promotional activity which further exacerbated the

deterioration of the Company’s performance, as gross profit margins declined and fixed costs

remained relatively unchanged, causing EBITDA degradation.

       38.     In June 2019, I was hired as the Chief Executive Officer of the Company and

immediately began to recruit and assemble a new management team of seasoned retail executives

with unique expertise to stabilize the Company’s business and implement a transformation plan

focused on several key initiatives. These initiatives stemmed from a focus on significantly

improving the Company’s customer service levels and execution in stores to improving customer

perception of David’s Bridal. Under my leadership, the Company worked to remove friction

points with its customers with respect to inconsistent customer policies, and the Company reset its

brand hierarchy and assortments to improve its productivity. Most notably, the Company launched

a robust set of digital solutions to engage with brides at the outset of their wedding planning




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process. David’s Bridal implemented various social media capabilities designed to strengthen the

relevancy of David’s Bridal to the modern bride.

       39.     Simultaneously with the development and implementation of this transformation

plan, the Company launched a restructuring process to recapitalize its outstanding funded debt. In

November 2019, the Company implemented an out-of-court restructuring transaction to exchange

$276 million of its $300 million term loans into new preferred and common equity securities

(the “Out-of-Court Restructuring”).    In connection with the Out-of-Court Restructuring, the

Debtors entered into the Prepetition First Lien Term Loan Facility, thereby obtaining $55 million

of new growth capital to execute upon the Company’s transformation plan.

       40.     As a result of these transformation initiatives, during the first quarter of 2020, the

Company was successful in reversing its comparable sale declines and was well positioned to

reestablish David’s Bridal’s brand reputation within the wedding industry. Despite the substantial

progress made by the Company during the second half of 2019 and the first quarter of 2020, the

Company’s transformation efforts were immediately disrupted by the COVID-19 pandemic and

the Debtors’ outlook was immediately and significantly reversed, negatively impacting the

Company’s liquidity.

   B. The Impact of COVID-19.

       41.     On March 11, 2020, the World Health Organization officially declared COVID-19

a pandemic, and national, state, and local governments in the United States and around the world

began imposing shelter-in-place and stay at home orders, as well as strict social distancing

protocols. On March 17, 2020, the Company temporarily closed all of its approximately 300 stores

to protect the health and safety of David’s Bridal’s customers and associates. David’s Bridal

continued to serve its customers online and utilized its fulfilment center and merchandise in store




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locations to fulfill online orders.   David’s Bridal began a phased reopening of stores on

May 1, 2020, including by offering curbside pick-up, with substantially all of the Company’s stores

reopening by May 22, 2020. Notwithstanding the reopening of David’s Bridal stores, social

distancing restrictions imposed by governmental authorities remained in place, and large events,

such as weddings, continued to be postponed as new COVID-19 variants continued to be

discovered.

       42.     To fund operations and continue serving brides during the pandemic,

on June 19, 2020, the Debtors entered into the Prepetition Superpriority Term Loan Facility. As

demand and sales began to stabilize, on April 30, 2021, the Company entered into the Prepetition

SS Term Loan Facility to provide the Debtors with additional liquidity to further advance their

transformation efforts.   Notwithstanding these efforts, the lasting effects of the pandemic

continued to impact the Company’s revenue and the Debtors liquidity began to deteriorate during

the second quarter of 2022. As a result, in November 2022, the Debtors secured additional

incremental financing to provide the Company with time to conduct a marketing and sale process

to maximize the value of the Company for all stakeholders.

       43.     In addition, the restrictions resulting from legally imposed measures, combined

with radically altered behavior by consumers, precipitated an unprecedented decline in economic

activity and record high inflation levels. This significant change in consumer demand also led to

increased competition among retailers, particularly online retailers. The Debtors have continued

to experience a decline in store traffic as a result of these factors, with in-store appointments

declining more than 14% during the fourth quarter of 2022 and bridal unit sales declining almost

20% during the same period. As a result of the COVID-19 pandemic and the ensuing global




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economic issues, the Debtors’ sales materially declined from forecasts and the Company quickly

depleted its newly raised growth capital stemming from its Out-of-Court Restructuring.

   C. Substantial Shifts in the Wedding Industry.

       44.     Attitudes towards marriage have been evolving over the last few decades, with it

becoming more common for people to not marry their long-term partners. These trends are

consistent with societal changes in attitudes and practices, which have moved in a less traditional

direction over the past few decades. Despite these shifts, the overall wedding industry historically

remained stable with the number of weddings averaging above two million per year. As a result

of the COVID-19 pandemic and the related ban on in-person activities and large gatherings,

the national marriage rate in 2020 fell to its lowest level in 121 years. Based on the Company’s

data derived from various sources and customer surveys, the marriage rate in 2022 remained low,

with only 1.9 million weddings occurring last year as compared to the more than 2.2 million

weddings that occurred annually in the years leading up to the pandemic.

       45.     Due to the significant number of weddings postponed during the pandemic, brides

still find it challenging to secure their ideal wedding venue, resulting in couples elongating their

wedding planning cycles and brides delaying their timing for selecting a dress. While the wedding

industry has not yet rebounded, the Debtors are also experiencing reduced demand due to shifts in

consumer behavior in the post-COVID environment and the current macroeconomic environment.

This environment has contributed to David’s Bridal facing escalating competition from traditional

online retailers and other pure-play clothing retailers, as an increasing number of brides are opting

for less traditional wedding attire, including thrift wedding dresses. Thus, the demand for formal

wedding dresses, bridesmaid dresses, and related accessories has decreased substantially in the




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current environment. The bridal wear industry is unique and these shifting consumer preferences

have significantly exacerbated the Debtors’ liquidity issues.

 IV.      Restructuring Efforts.

          46.   To counteract the lingering impact of the COVID-19 pandemic and macroeconomic

headwinds, David’s Bridal has taken several proactive measures to remain competitive. The

Company remodeled and modernized its stores while also expanding its e-commerce platform,

launching a significant number of digital initiatives to leverage its engagement and relevancy to

brides.     The Company has also implemented various cost cutting measures by closing

underperforming stores and streamlining its workforce.

          47.   In the fall of 2022, in light of the Debtors’ constrained liquidity position and

upcoming interest payments on its debt, the Company sought a near-term, holistic solution. The

Debtors contemplated various strategic alternatives, including both in- and out-of-court

restructuring transactions. The Debtors and their advisors began reaching out to certain of the

Company’s principal stakeholders to proactively develop a comprehensive restructuring solution

that would address the Company’s debt and liquidity situation and provide runway to implement

a value-maximizing transaction.

          48.   In November 2022, following negotiations with key stakeholders, the Debtors

secured $25 million of new financing from new and existing lenders, including a $15 million

incremental term loan under the Prepetition SS Term Loan Facility and the $10 million Prepetition

FILO Term Loan.        In connection with the incremental financing, the Debtors entered into

amendments to their existing credit agreements (the “Credit Agreement Amendments”). The

Credit Agreement Amendments extended certain maturity dates under the Debtors’ funded debt

facilities and required the Debtors to, among other things, engage in a marketing process for the




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sale of the Debtors’ assets pursuant to an agreed upon timeline and to appoint a disinterested

manager to the board of David’s Bridal, LLC (the “Board”).

       49.     Beginning in December 2022, the Debtors began preparing for a potential

going-concern sale transaction to maximize value for the Debtors and their stakeholders. The

Debtors engaged Houlihan in December 2022 to act as their investment banker. Houlihan

compiled a targeted list of strategic, financial, and brand investors and acquirers and initiated an

expedited but comprehensive marketing process, launching outreach in late February. The Debtors

and their advisors worked quickly to negotiate and enter into confidentiality agreements with more

than 30 parties and to provide access to a virtual data room. Company management and Houlihan

have since held several in-person and telephonic-meetings with potential bidders in the weeks prior

to the Petition Date and, to date, have received indications of potential interest that could, if moved

to a binding bid, provide additional liquidity for the Debtors’ estates.

       50.     In satisfaction of the requirements set forth in the Credit Agreement Amendments,

in December 2022 and March 2023, respectively, the Debtors appointed, Ryan Esko and Matthew

Kahn to the Board as independent and disinterested directors (collectively, the “Disinterested

Directors”). The Board delegated decision-making authority to Matthew Kahn with respect to

conflict matters and the Disinterested Directors have played an integral role in overseeing the

Debtors’ ongoing sale process.

       51.     Most recently, in March 2023, lenders under the Prepetition ABL Facility informed

the Debtors that, as a result of the Company’s deteriorating liquidity position, a cash dominion

period (the “Cash Dominion Period”) had occurred and that Bank of America, N.A., as agent,

delivered the applicable dominion notices to each applicable depositary bank of the Debtors. As

of the Petition Date, the Cash Dominion Period remained ongoing and the Debtors were required




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to seek approval from its lenders under the Prepetition ABL Facility prior to spending any of the

estates’ cash on-hand. Operating under these circumstances proved difficult and impacted the

Debtors ability to continue its prepetition marketing efforts.

 V.    The Debtors’ First Day Motions.

       52.     To enable the Debtors to minimize the adverse effects of the commencement of

these chapter 11 cases on their ongoing business operations and to promote a smooth transition to

operations in chapter 11, the Debtors have requested various relief in their First Day Motions. The

Debtors request that the relief requested in each of the First Day Motions be granted as critical

elements in ensuring the maximization of value of the Debtors’ estates. These First Day Motions

include:

              Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of
               Chapter 11 Cases and (II) Granting Related Relief;

              Debtors’ Motion for Entry of an Order (I) Establishing Certain Notice, Case
               Management, and Administrative Procedures and (II) Granting Related Relief;

              Debtors’ Motion Seeking Entry of an Order Extending Time to (I) File Schedules
               of Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules
               of Executory Contracts and Unexpired Leases, and Statements of Financial Affairs,
               and (II) Granting Related Relief;

              Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) File a
               Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for
               Each Debtor, (B) File a Consolidated List of the Debtors’ 30 Largest Unsecured
               Creditors, (C) Redact Certain Personally Identifiable Information, and
               (II) Granting Related Relief;

              Debtors’ Application Pursuant to 28 U.S.C. § 156(c) and 11 U.S.C. § 105(a) for
               Entry of an Order Authorizing the Appointment of Omni Agent Solutions as Claims
               and Noticing Agent Effective as of the Petition Date;

              Debtors’ Motion for Entry of an Order (I) Authorizing David’s Bridal, LLC to Act
               as Foreign Representative, and (II) Granting Related Relief;

              Debtors’ Motion for Entry of an Order (I) Restating and Enforcing the Worldwide
               Automatic Stay, Anti-Discrimination Provisions, and Ipso Facto Protections of the
               Bankruptcy Code and (II) Approving the Related Form and Manner of Notice;


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          Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility
           Providers from Altering, Refusing, or Discontinuing Utility Services,
           (II) Determining Adequate Assurance of Payment for Future Utility Services,
           (III) Establishing Procedures for Determining Adequate Assurance of Payment,
           (IV) Authorizing the Payment of Prepetition Administrative Fees Relating to Utility
           Services, and (V) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
           Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs
           and (II) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to Maintain and Administer their Existing Customer Programs and Honor Certain
           Prepetition Obligations Related Thereto, and (II) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to (A) Pay their Obligations Under Insurance Programs Entered into Prepetition,
           (B) Continue to Pay Brokerage Fees, (C) Renew, Supplement, Modify, or Purchase
           Insurance Coverage, (D) Honor the Terms of their Financing Agreement and Pay
           Premiums Thereunder, and (E) Maintain their Customs Surety Bonds, and
           (II) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Payment of
           Certain Prepetition Taxes and Fees and (II) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders Approving Notification and
           Hearing Procedures for Certain Transfers of and Declarations of Worthlessness
           with Respect to Common Stock and Preferred Stock;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to Pay or Honor Prepetition Claims of (A) Critical Vendors and (B) Lien Claimants
           and (II) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to (A) Continue to Operate their Cash Management System, (B) Honor Certain
           Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms;
           and (D) Continue to Perform Intercompany Transactions, (II) Granting
           Administrative Expense Status to Postpetition Intercompany Balances, and
           (III) Granting Related Relief;

          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
           to Assume and Perform Under the Consulting Agreement Related to the Sale of
           Inventory, (II) Approving Procedures for the Sale of Inventory, (III) Approving
           Modifications to Certain Customer Programs, and (IV) Granting Related Relief;




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                 Debtors’ Motion for Entry of Orders (I)(A) Approving Bidding Procedures and Bid
                  Protections, (B) Approving the Form Asset Purchase Agreement, (C) Scheduling
                  an Auction and a Sale Hearing, (D) Approving the Form and Manner of Notice
                  Thereof, and (E) Establishing Notice and Procedures for the Assumption and
                  Assignment of Contracts and Leases and (II)(A) Approving the Asset Purchase
                  Agreement, (B) Authorizing the Sale of Assets, and (C) Authorizing the Assumption
                  and Assignment of the Assumed Contracts; and

                 Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                  to (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting
                  Liens and Superpriority Administrative Expense Claims, (III) Granting Adequate
                  Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing,
                  and (VI) Granting Related Relief.

         53.      The First Day Motions seek authority to, among other things, stabilize the Debtors’

business operations, facilitate the efficient administration of these chapter 11 cases, and provide

postpetition financing and access cash collateral. Receiving Court approval of the relief sought in

the First Day Motions is essential to provide the Debtors with an opportunity to work towards an

expeditious sale process in chapter 11.

         54.      Further, the Debtors seek authority to continue paying obligations to certain

vendors critical to the Debtors’ operations. I believe that such relief is essential for the Debtors’

continued and uninterrupted access to merchandise and other goods and services needed to fulfill

customer orders. Given the specific nature of the Debtors’ business, whereby brides, bridal parties,

and other customers purchase merchandise from the Debtors for important life events, the Debtors

must be able to rely on timely delivery of goods and services from their critical business partners.

         55.      Several of the First Day Motions request authority to pay certain prepetition claims.

Rule 6003 of the Federal Rules of Bankruptcy Procedures provides, in relevant part, that the Court

shall not consider motions to pay prepetition claims during the first 21 days following the filing of

a chapter 11 petition, “except to the extent relief is necessary to avoid immediate and irreparable

harm.”       In light of this requirement, the Debtors have narrowly tailored their requests for

immediate authority to pay certain prepetition claims to those circumstances where the failure to


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pay such claims would cause immediate and irreparable harm to the Debtors and their estates.

Other relief will be deferred for consideration at a later hearing.

       56.     I have reviewed each of the First Day Motions. The facts stated in each of the First

Day Motions are true and correct to the best of my information and belief. I believe that the relief

sought in each of the First Day Motions is necessary to enable the Debtors to operate in chapter

11 with minimal disruption to their business operations and constitutes a critical element in

successfully consummating a sale transaction while also pursuing, as an alternative, an orderly

wind-down.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.




     Dated: April 17, 2023                  /s/ James Marcum
                                            James Marcum
                                            Chief Executive Officer
                                            David’s Bridal LLC
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                                  Exhibit A

                             Corporate Structure
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      Legend
Borrower – Senior Superpriority
Term Loan Facility
Borrower – Superpriority
Term Loan Facility                                                                       DBI Investors, Inc.
                                                                                            (Delaware)
Borrower – First Lien Facility


Borrower – Takeback Facility                                                                       100%


Borrower – ABL Facility
                                                                                         DBI Holdco II, Inc.
                                                                                            (Delaware)
Guarantor – Senior Superpriority
Term Loan Facility
Guarantor – Superpriority                                                                          100%
Term Loan Facility

Guarantor – First Lien Facility                                                           DBI Midco, Inc.
                                                                                           (Delaware)
Guarantor – Takeback Facility


Guarantor – ABL Facility                                                                           100%



                                                                                         David’s Bridal, LLC
                                                                                             (Florida)

                                   100%                       100%                                                           100%                                              100%




                           Aligned for the        Blueprint Registry, LLC                                                    David’s Bridal                                     David’s Bridal
                            Frontline, LLC               (Florida)                                                            Canada, Inc.                                       UK Limited
                           (Pennsylvania)               (Inactive)                                                             (Inactive)                                           (UK)




                                                                       The Bridge                                The Bridge                                          Multihulls                                                 Pretty Fashions
                                                                     Holding Limited                           Holding Limited                50%                 Trading Limited                                                     Inc.



                                                  50%          50%                 50%             50%                                                                                            25%                   25%         25%
                                                                                                                                                                      25%
                                                                                                                       50%

                                             Executive Management                           Fillberg Ltd.                           Wingreat Limited                                                    Maxtel Limited
                                                     Limited                                (Hong Kong)                               (Hong Kong)                                                        (Hong Kong)
                                                  (Hong Kong)
